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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION


DOUGLAS WATSON, et al.,                               )
                                                      )
                    Plaintiffs,                       )
                                                      )           No. 4:20-CV-756 RL W
          v.                                          )
                                                      )
LAKESIDE ROOFING CO., INC.,                           )
                                                      )
                   Defendant.                         )

                                    MEMORANDUM AND ORDER

          This matter is before the Court on Defendant Lakeside Roofing Co., Inc. 's (Lakeside

Roofing) Motion for Leave to File Third-Party Petition, which the Court construes has a motion

for leave to file a third-party complaint.     Plaintiffs did not respond to the motion, and the time to

do so has passed. 1

                                                   Background

          This suit involves an alleged breach of contract by Lakeside Roofing for the removal and

installation of a roof at Plaintiffs' residence.       Plaintiffs also assert claims of negligence and

violations of the Missouri Merchandising Practices Act against Lakeside Roofing. 2         In its motion,

Lakeside Roofing asserts it subcontracted with a third party, Tushuuz f/k/a Palace Construction,

to complete the work at issue in this case.     Lakeside Roofing moves to file a third-party complaint




          1
             In its motion, Lakeside Roofing states that Plaintiffs' counsel has no objection to the
motion.
         2
          This case was removed from Missouri state court based on diversity jurisdiction under 28
u.s.c.   § 1332.


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pursuant to Rule 14 of the Federal Rules of Civil Procedure against Tushuuz f/k/a Palace

Construction to assert claims against it. 3     In its motion, Lakeside Roofing avers that if Plaintiffs

sustained any of the damages they allege in the Petition, which Defendant denies, such damages

were caused or contributed by the negligent acts or omissions of Tushuuz f/k/a Palace

Construction.       Lakeside Roofing contends that if it is found liable to Plaintiffs, then Tushuuz f/k/a

Palace Construction is liable to Lakeside Roofing for the damages.           Lakeside Roofing attached

to its motion for leave a proposed "Defendant/Third-Party Plaintiff Lakeside Roofing Co., Inc.'s

Third-Party Petition for Contribution and Indemnification Against Third-Party Defendant Tushuuz

f/k/a Palace Construction."

                                                Discussion

         Rule 14 of the Federal Rules of Civil Procedure governs third-party practice and specifies

the circumstances under which a defendant may bring a third-party complaint against a third-party

defendant.       Rule 14(a) of the Federal Rules of Civil Procedure governs impleader, or third-party

practice, and provides:       "A defending party may, as third-party plaintiff, serve a summons and

complaint on a nonparty who is or may be liable to it for all or part of the claim against it.        But

the third-party plaintiff must, by motion, obtain the court's leave if it files the third-party complaint

more than 14 days after serving its original answer."        Fed. R. Civ. P. 14(a)(l).

         The Court finds Lakeside Roofing meets the requirements of Rule 14, and the Court will

allow Lakeside Roofing to add Tushuuz f/k/a Palace Construction as a third-party defendant to

this suit.   The Court, however, cannot direct the Clerk of Court to docket Lakeside Roofing's



         3 The   Court notes that Lakeside Roofing's motion is timely under the Case Management
Order.


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     proposed "Defendant/Third-Party Plaintiff Lakeside Roofing Co., Inc. 's Third-Party Petition for

     Contribution and Indemnification Against Third-Party Defendant Tushuuz f/k/a Palace

     Construction."    First, the document should be entitled a Third-Party Complaint, not a Third-Party

     Petition.    See Fed. R. Civ. P. 14(a)(l).   Second, the case caption is not accurate.    Lakeside

     Roofing is a Defendant/Third-Party Plaintiff (emphasis added).    Third, the proposed pleading has

     an exhibit label and could not have been filed as submitted.   The Court grants the motion but will

     direct Lakeside Roofing to file a corrected Third-Party Complaint.

              Accordingly,

              IT IS HEREBY ORDERED that Lakeside Roofing Co., Inc.'s Motion for Leave to File

     Third-Party Petition, which the Court construes has a motion for leave to file a third-party

     complaint, is GRANTED.        [ECF No. 13]

              IT IS FURTHER ORDERED that on or before October 26, 2020, Lakeside Roofing Co.,

     Inc. shall file a Third-Party Complaint that is consistent with the terms of this Memorandum and

     Order.




                                                             ~}!lb
                                                          ~IEL.WHITE
                                                          UNITED STATES DISTRICT JUDGE


     Dated this  . Of?#      day of October, 2020.




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